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 8                                   UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

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     SHELLY J. IOANE, et al.,                            Case No. 1:07-cv-00620-AWI-EPG
11
                       Plaintiffs,                       ORDER GRANTING PERMISSION FOR
12                                                       THE FILING OF A MOTION TO
                                                         COMPEL; EXTENDING EXPERT
13   v.                                                  DISCOVERY AND SUBSEQUENT
                                                         DEADLINES; DENYING IN PART
14   JEAN NOLL, et al.,                                  MOTION TO EXTEND DISCOVERY
                                                         DEADLINES; AND DENYING WITHOUT
15                     Defendants.                       PREJUDICE MOTION FOR FOLLOW-
                                                         UP EXAMINATION
16
                                                         (ECF Nos. 516, 518)
17

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19
20          On April 23, 2020, the Court held an informal discovery dispute conference. As

21   discussed during that conference,

22          IT IS ORDERED that:

23          1.   The Court grants an extension of time in relation to fact-discovery requests that

24   have already been served as follows:

25                i.      Defendant has permission to file, no later than June 12, 2020, a motion to

26                        compel regarding any discovery requests already served on Plaintiff that

27                        were discussed during the April 23, 2020, informal discovery dispute

28                        conference.


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 1                  ii.   A hearing on said motion is set for June 19, 2020, at 10:00 a.m., in

 2                        Courtroom 10 (EPG) before Magistrate Judge Erica P. Grosjean. To

 3                        participate telephonically, each party is directed to use the following dial-in

 4                        number and passcode: 1-888-251-2909; passcode 1024453. The parties are

 5                        reminded to file a joint statement regarding discovery disagreement one full

 6                        week prior to the hearing and email a copy of same, in Word format, to

 7                        epgorders@caed.uscourts.gov, for the Judge’s review.1

 8            2.    The schedule in this case is modified as follows:

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       Deadline/Hearing                          Previous Date           New Date
10
       Expert Disclosure Deadline                May 22, 2020            August 24, 2020
11
       Rebuttal Expert Disclosure Deadline       June 19, 2020           September 24, 2020
12
       Expert Discovery Cutoff                   July 17, 2020           October 23, 2020
13
       Dispositive Motion Filing Deadline        August 17, 2020         November 20, 2020
14
       Pretrial Conference                       December 17, 2020       March 24, 2021 at 10:30 a.m.
15
       Hearing on Motions in Limine              February 1, 2021        May 3, 2021 at 1:30 p.m.
16
       Jury Trial                                February 17, 2021       May 25, 2021 at 8:30 a.m.
17

18         3. Defendant Jean Noll’s motion for an extension of time (ECF No. 516) is denied to the

19   extent the relief requested is inconsistent with this order.

20        4. Defendant ’s motion for follow-up psychological examination of Plaintiff Shelly

21   Ioane (ECF No. 518) is denied without prejudice.

22        5. After reviewing Plaintiff’s expert disclosures, Defendant may file a motion for a

23   supplemental psychological examination of Plaintiff Shelly Ioane. If Defendant wishes to file

24   such a motion, Defendant must contact Courtroom Deputy Michelle Rooney

25   (mrooney@caed.uscourts.gov) by August 26, 2020, to request an expedited briefing and

26   hearing schedule.

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           If the parties do not believe a hearing is needed, they should jointly notify the Court on
28        that date.


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 1         6. The parties are directed to meet and confer regarding the prompt release of Plaintiff

 2    Shelly Ioane’s personal health information possessed by Dr. Ricardo Winkel.

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     IT IS SO ORDERED.
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 5     Dated:    April 27, 2020                             /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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